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6     Class Member Objectors

7
                                 UNITED STATES DISTRICT COURT
8
                              NORTHERN DISTRICT OF CALIFORNIA
9
                                      SAN FRANCISCO DIVISION
10

11
     IN RE: CATHODE RAY TUBE (CRT)                   Master File No. 4:07-cv-5944-JST
12   ANTITRUST LITIGATION
                                                     MDL No. 1917
13
                                                     REQUEST FOR EXPEDITED RELIEF AND
14   This Document Relates to:                       MOTIONS TO EXTEND TIME TO APPEAL
                                                     JUDGMENT AND TO INTERVENE FOR
15   All Indirect-Purchaser Actions                  PURPOSE OF APPEAL

16                                                   Hearing Date: Submitted on papers

17                                                   Judge:        Honorable Jon S. Tigar
                                                     Courtroom:    6, 2nd Floor
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28       REQUEST FOR EXPEDITED RELIEF AND MOTIONS TO EXTEND TIME TO APPEAL JUDGMENT
                           AND TO INTERVENE FOR PURPOSE OF APPEAL
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                                  NOTICE OF MOTION AND MOTION
1
     TO ALL PARTIES AND THEIR ATTORNEYS:
2
            PLEASE TAKE NOTICE that before the Honorable Jon S. Tigar, United States District
3
     Court for the Northern District of California, located at 1301 Clay Street, Oakland, California 94612,
4    counsel for Class Plaintiffs Jeff Speaect (SD); Gloria A. Comeaux (NV); Craig A. Schuler (NE) ;
5    Valerie G. Deick (NV); Lisa L. Butterbrodt (WI); Dale B. McKenzie (CA); Eric R. Coggins (AZ);
6    Heather J. Gordon (FL); Dennis S. Cornett (TN); David N. Watson (MI); Brendan C. McCann (NY);
7    Jessica M. McIntyre (VT); Miguel A. Albarran (FL); and Mary J. Baucom (NM) (collectively, the
8    “Objectors”), hereby, through their undersigned counsel,1 move the Court for the following
9    expedited relief: (1) an order extending the time to file a notice of appeal for the final judgment

10   entered on July 29, 2020 (the “Judgment”) (Dkt. 5804) and the underlying merged orders pursuant

11   to Federal Rule of Appellate Procedure 4(a)(5)(A) (the “Extension Motion”) until September 27,

12   2020, to permit the Court’s resolution of the concurrently presented Intervention Motion (as defined

13   herein) and (2) an order pursuant to Federal Rule of Civil Procedure 24 permitting the Objectors to
     intervene for the purpose of appealing the Judgment and the denial of their objections to the
14
     settlements that have been granted final approval (the “Intervention Motion”).2
15
            The Objectors request that the Extension Motion be expedited for determination prior to the
16
     due date for the notice of appeal of the Judgment (August 28, 2020) pursuant to Federal Rule of
17
     Appellate Procedure 4(a)(1)(A), and that the Intervention Motion be expedited for determination
18
     prior to September 27, 2020, to allow for compliance with Federal Rule of Appellate Procedure
19
     4(a)(5)(C).
20

21

22

23   1
       Due to prior misrepresentations made by IPP Class Counsel as to the undersigned’s status as pro
     hac vice counsel in this action, counsel respectfully directs attention to paragraph 6 of Pretrial
24   Order No. 1, entered on April 4, 2008, which specifically states that “Attorneys admitted to
     practice and in good standing in any United States District Court are admitted pro hac vice in this
25   litigation.” See Dkt. 230 at 7.
     2
       Pursuant to Fed. R. Civ. P. 24(c), attached hereto as Exhibit A is the Order Granting Final
26   Approval (Dkt. 5786).
27

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              The motions are based on this notice, the accompanying Memorandum of Points and
1
     Authorities, all other pleadings and papers filed in this action, and such additional evidence or
2
     argument that may be presented at any hearing before the Court.
3
              The Objectors request the Court to deem this matter submitted at the conclusion of the
4    briefing. As noted on the Court’s online calendar page, “[p]arties may file a motion without a noticed
5    hearing date, in which case the matter will be deemed submitted upon filing of the reply brief unless
6    otherwise ordered by the Court.”3
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26   3
         See https://apps.cand.uscourts.gov/CEO/cfd.aspx?7146#Notes.
27

28          REQUEST FOR EXPEDITED RELIEF AND MOTIONS TO EXTEND TIME TO APPEAL JUDGMENT
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                           MEMORANDUM OF POINTS AND AUTHORITIES
 1
                                            INTRODUCTION
 2
            Through the instant motion, the IPP Objectors seek to exercise their due process-
 3
     guaranteed rights as unnamed settlement class members to test the settlements that bind them and
 4
     forever release their claims. The record established that each Objector purchased at least one
 5
     CRT-containing product during the class period, resides in one of the twenty-two qualifying
 6
     Included Repealer States, submitted a timely objection, and appeared through counsel at the final
 7
     approval hearing opposing the approved amended settlements.4 Allowance of intervention for the
 8
     purpose of enabling them to appeal such approval should be granted to permit them to exercise
 9
     their due process-guaranteed rights to challenge the release of their claims under circumstances
10
     that they believe presented plain evidence of a conflict of interest and a lack of arms’-length
11
     negotiation as well as violations of Rule 23’s requirements. Denial will disparately treat similarly
12
     situated class members and may cut off warranted appellate review of the issues referenced
13
     throughout this litigation.
14
                                   RELEVANT FACTUAL BACKGROUND
15
            On July 13, 2020, the Court entered an order certifying a settlement class of a subset of
16
     Indirect Purchaser Plaintiffs that included twenty-two state classes (“IPPs”) and granting final
17
     approval to amended settlements between the IPPs and certain Defendants (the “Amended
18
     Settlements”). Dkt. 5786. Final judgment dismissing the Defendants with prejudice was entered
19
     on July 29, 2020. Dkt. 5804.
20

21

22
     4
       As detailed below, Objectors Speaect and Comeaux were named class representatives in the
23   Fourth Consolidated Amended Complaint, the operative complaint in the MDL from 2013 to
     2019, and objected on the record in multiple court filings to the original 2016 settlements, and
24   therefore possessed indisputable standing to object to settlements disposing of their claims and to
     appeal their final approval. During the litigation, their proofs of purchase were heavily vetted by
25   Lead and Class Counsel prior to their being offered up as class representatives as well as during
     their depositions. Nevertheless, they are included in the present motions in an abundance of
26   caution.
27
                                                      1
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            Those Amended Settlements originated from prior defective settlements (the “2016
 1
     Settlements”) that IPP Lead Counsel had negotiated and entered into in 2016 on behalf of all
 2
     members of the nationwide putative class in disregard of his duty of adequate representation.
 3
     Dkt. 5362. Although initially granting final approval, the Court thereafter found such approval to
 4
     have been erroneous, and the Ninth Circuit then remanded the then-pending appeal of final
 5
     approval for reconsideration of IPP Class Counsel’s adequacy of representation under Federal
 6
     Rule of Civil Procedure 23(a)(4) and of the attorneys’ fees awarded to Lead Counsel. Id.; 9th Cir.
 7
     Case No. 16-16373, Dkt. 252.
 8
            Reconsideration of the 2016 Settlements was ever carried out. Instead, IPP Class Counsel
 9
     continued to advocate for and pursue their fees and the existing settlements at all costs. This
10
     eventually resulted in the jettisoning of all end-use purchasers who stood in their way. In fact,
11
     rather than lift a finger to restore class members from other Repealer States, who were certain to
12
     appeal if they were again left out, they simply discarded the subset of Omitted Repealer State
13
     class members that presented an obstacle to those settlements. Through this gamesmanship, IPP
14
     Class Counsel was able to preserve most of the monetary core of the original settlements, secure
15
     a massive attorneys’ fee (though slightly lessened for rank and file Class Counsel), and evade
16
     judicial scrutiny of the entirety of his representation as Lead Class Counsel, which had included
17
     exclusive representation of the Omitted Repealer States and their claims for over ten years.
18
            The IPP Objectors are all members of the settlement class. Dkt. 5739-49, 5751-52, 5755.
19

20   They are from twelve of the twenty-two IPP IRS subclasses and their claims are therefore

21   included and released in the Amended Settlements. They all timely objected to those settlements

22   and the proposed award of attorneys’ fees to IPP Class Counsel, attested to their membership in
23
     the class and included the information listed in the notice that was required to be included in an
24
     objection to the amendments, the 2016 Settlements or attorneys’ fees. Id.; Dkt. 5587-2 at 16 (the
25
     “Notice of Amendment”); see www.crtclaims.com. Each Objector signed and dated the
26

27
                                                      2
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     Objection and submitted it to this Court. IPP Class Counsel responded to those objections on
 1
     June 12, 2020. Dkt. 5758. The Objectors responded to that filing through counsel in a
 2
     Supplemental Brief on July 3, 2020. Dkt. 5779
 3
            Objectors Jeff Speaect and Gloria Comeaux were well-known to IPP Class Counsel as
 4

 5   qualifying class members from the states of South Dakota and Nevada, respectively. After

 6   heavily vetting them, including their evidence of purchase, IPP Lead Counsel named them as

 7   class representatives for such states in his Fourth Consolidated Amended Complaint filed on
 8   January 10, 2013 (Dkt. 1526), which remained operative until September 19, 2019. Further, they
 9
     each filed multiple objections to the original 2016 Settlements and notice thereof and even
10
     participated in the Ninth Circuit appeal proceedings for the original settlements and, therefore,
11
     fell within the Notice of Amendment’s parameters. See Dkt. 4119, 4144, 4404, 4440; 9th Cir.
12

13   Case Nos. 16-16373, 16-16399, 16-16400. Mr. Speaect’s and Ms. Comeaux’s depositions were

14   taken and their proofs of purchase produced, which have been at all times relevant in the

15   possession of IPP Lead Counsel. Dkt. 5796-1. Nevertheless, IPP Class Counsel attacked their
16
     standing to object to the Amended Settlements, disingenuously calling them “purported class
17
     members.” See Dkt. 5758 at 13. Mr. Speaect and Ms. Comeaux attempted to correct that
18
     representation in their Supplemental Brief, which ultimately was stricken. See Dkt. 5779 at 8.
19
            All Objectors appeared through the undersigned as their counsel at the fairness hearing
20

21   on July 8, 2020 for the Amended Settlements. In the final approval order, their objections were

22   stricken. Dkt. 5786 at 13.
23          The Objectors have brought the instant motion to enable them to appeal approval of the
24
     Amended Settlements, which indisputably bind them and prevent any independent action by
25
     them to assert their rights and claims against the Settling Defendants.
26

27
                                                      3
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                                               ARGUMENT
 1
     I.     EXPEDITED TREATMENT AND GRANTING OF THE REQUEST
 2          TO EXTEND THE TIME TO APPEAL IS WARRANTED

 3          The Objectors’ pursuit of an appeal presents the procedural complication that their

 4   motion to intervene to pursue that appeal will not be resolved prior to the expiration of the 30-

 5   day time period in which an appeal of the Judgment must be filed. See L.R. 7-3 (schedule for

 6   briefing of motions). As a method endorsed in such circumstances, the Objectors request an

 7   extension of the deadline to appeal the Judgment pursuant to Federal Rule of Appellate

 8   Procedure 4(a)(5)(A). See, e.g., CE Design, Ltd. v. Cy's Crab House N., Inc., 731 F.3d 725, 729

 9   (7th Cir. 2013). Such an extension may be granted ex parte. Fed. R. App. P. 4(a)(5)(B).

10          The Extension Motion should be granted here to avoid rendering an ultimate appeal

11   meaningless. The conundrum presented by the expiration of the limitations period for an appeal

12   of a final approval order prior to the resolution of a motion to intervene for the purposes of

13   presenting such an appeal was the subject of CE Design, Ltd. v. Cy's Crab House N., Inc. There,

14   although the objector had filed a timely motion to intervene to challenge final approval of a class

15   settlement, it did not file a notice of appeal for the underlying judgment at issue within the 30-

16   day time period. Finding the 30-day appeal period jurisdictional, the Seventh Circuit held that

17   even if intervention had been improperly denied, the failure to take protective action with respect

18   to an appeal of the final approval judgment rendered any relief impossible:

19          If we cannot grant any relief, our jurisdiction ceases. Because Truck Insurance did
            not timely appeal the judgment, it is now set in stone, and the reversal of the
20          district court's intervention decision can secure no meaningful relief. . . . Put
            differently, even if we reversed the district court and authorized Truck Insurance
21
            to intervene, we can do nothing to help it.
22   Cy's Crab House, 731 F.3d at 730. In doing so, it specifically identified the securing of an
23   extension of the appeal deadline as a solution. Id. at 729.
24          In the alternative, if the requested extension is not granted, the IPP Objectors will be
25   forced to appeal the Judgment, which will divest this Court of jurisdiction over the Intervention
26

27
                                                       4
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     Motion, and then request that the Ninth Circuit remand the case for resolution of that Motion.5
 1
     The IPP Objectors submit that avoidance of such a circuitous route constitutes good cause to
 2
     grant an extension and will further serve to ultimately allow for the full and just resolution of the
 3
     Objectors’ disagreements as to the propriety of the final approval of megafund Amended
 4
     Settlements disposing of scores of unnamed class members’ claims.
 5
     II.      INTERVENTION FOR THE PURPOSE OF APPEAL SHOULD BE GRANTED
 6
              The Supreme Court has held that class members who objected to settlement approval
 7
     have standing to appeal final approval of a class action settlement without the need to intervene
 8
     formally in the case. See Devlin v. Scardelletti, 536 U.S. 1 (2002). “It is this feature of class
 9
     action litigation that requires that class members be allowed to appeal the approval of a
10
     settlement when they have objected at the fairness hearing. To hold otherwise would deprive
11
     nonnamed class members of the power to preserve their own interests in a settlement that will
12
     ultimately bind them, despite their expressed objections before the trial court.” Id. at 10. Each of
13
     the IPP Objectors in fact are members of the settlement class whose claims are forever released
14
     by the Amended Settlements.
15
              Nevertheless, the order approving those settlement found that their objections were
16
     deficient and struck them. Although the Objectors respectfully maintain that their indisputably
17
     timely objections were proper, they seek leave of the Court to intervene in an abundance of
18
     caution to remove the issue of standing on their appeal.
19
           A. The IPP Objectors Should Be Permitted to Intervene under Rule 24
20            as a Matter of Right.
21

22

23   5
       As an alternative method endorsed by courts, the Objectors could file a notice of appeal of the
     Judgment concurrently with their motion to intervene. However, that procedural route would
24   divest this Court of jurisdiction over the motion and require them to go through the exercise of
     requesting the Ninth Circuit to remand the case for the purpose of allowing resolution of their
25   motion to intervene. See Roe v. Town of Highland, 909 F.2d 1097, 1100 (7th Cir. 1990). The
     Objectors have pursued the Extension Motion on an expedited basis to attempt to avoid that
26   circuitous route.
27
                                                       5
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            Federal Rule of Civil Procedure 24(a)(2) provides for intervention as of right by anyone
 1
     who “claims an interest relating to the property or transaction that it the subject of the action and
 2
     is so situated that disposing of the action may as a practical matter impair or impede the
 3
     movant’s ability to protect its interest, unless the existing parties adequately represent that
 4
     interest.” Fed. R. Civ. P. 24; Devlin v. Scardelletti, 536 U.S. 1, 12 (2002). Intervention under
 5
     Rule 24(a)(2) is proper when the following four elements are met:
 6
            (1) the prospective intervenor's motion is “timely”; (2) the would-be intervenor has “a
 7          ‘significantly protectable’ interest relating to ... the subject of the action,” (3) the
 8          intervenor is “so situated that the disposition of the action may as a practical matter
            impair or impede [the intervenor's] ability to protect that interest”; and (4) such interest is
 9          “inadequately represented by the parties to the action.”

10   Smith v. Los Angeles Unified Sch. Dist., 830 F.3d 843, 853 (9th Cir. 2016). “In evaluating

11   motions to intervene, ‘courts are guided primarily by practical and equitable considerations, and

12   the requirements for intervention are broadly interpreted in favor of intervention.’” Droplets, Inc.

13   v. Yahoo! Inc., 12-CV-03733-JST, 2019 WL 9443778, at *2 (N.D. Cal. Nov. 19, 2019) (Tigar,

14   J.) (citation omitted). The Objectors meet all the requirements of Rule 24(a).

15          First, this motion is timely. Post-judgment motions to intervene for the purpose of appeal

16   are deemed timely when made within the time limitations for filing an appeal. State of Alaska v.

17   Suburban Propane Gas Corp., 123 F.3d 1317, 1320 (9th Cir. 1997); U.S. ex rel. Killingsworth v.

18   Northrop Corp., 25 F.3d 715, 719 (9th Cir. 1994). In this case, final judgment was entered on

19   July 29, 2020, making the deadline for the filing of an appeal on August 28, 2020, which is thirty

20   days after entry. See Fed. R. App. P. 4. As such, this request is timely.

21          Second, the Objectors have a sufficient interest in the litigation, and that those interests

22   will be affected or impaired by the disposition of this matter cannot be seriously disputed. They

23   are bound by the ruling; they object to the striking of the papers, especially in light of the fact

24   that their counsel incorporated them by reference during the final approval hearing and the Court

25   did not indicate it would subsequently strike them; and they have objected to the notice and fee

26   approval and award process.

27
                                                       6
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            The Supreme Court has long recognized the interest of objectors in a class action
 1
     settlement to which they will be bound. See Devlin, 536 U.S. at 10. Moreover, “[i]n the class
 2
     action context, the second and third prongs of the Rule 24(a)(2) inquiry are satisfied by the very
 3
     nature of Rule 23 representative litigation.” Miller v. Ghirardelli Chocolate Co., C 12-04936 LB,
 4
     2013 WL 6776191, at *8 (N.D. Cal. Dec. 20, 2013); see also Fed. R. Civ. P. 24 advisory
 5
     committee's notes (“[i]f an absentee would be substantially affected in a practical sense by the
 6
     determination made in an action, he should, as a general rule, be entitled to intervene.”); Sw. Ctr.
 7
     for Biological Diversity v. Berg, 268 F.3d 810, 822 (9th Cir. 2001). The Objectors’ claims
 8
     against the Settling Defendants based upon their purchases of CRT-containing products during
 9
     the class period are indisputably encompassed within the Amended Settlements. Entry of the
10
     final approval order and the Judgment dismissing the IPP class members’ claims against the
11
     Settling Defendants operates to deprive the IPP Objectors from asserting their CRT-based claims
12
     forever. Of particular note, the standing of both Mr. Speaect and Ms. Comeaux as IPP class
13
     members is further unequivocally established in the record of this case, a fact unacknowledged
14
     by IPP Class Counsel to the Court.
15
            Finally, the interests of the Objectors are not adequately represented by an existing party
16
     in the litigation. “The burden of showing inadequacy of representation is ‘minimal’ and satisfied
17
     if the applicant can demonstrate that representation of its interests ‘may be’ inadequate.” Citizens
18
     for Balanced Use v. Montana Wilderness Ass'n, 647 F.3d 893, 898 (9th Cir. 2011) (internal
19
     citation omitted). “In evaluating adequacy of representation, we examine three factors:
20
     ‘(1) whether the interest of a present party is such that it will undoubtedly make all of a proposed
21
     intervenor's arguments; (2) whether the present party is capable and willing to make such
22
     arguments; and (3) whether a proposed intervenor would offer any necessary elements to the
23
     proceeding that other parties would neglect.’” Id. No other member of the IPP class was
24
     permitted to advocate for their objections to the Amended Settlements and no other such
25
     members are appealing their approval. Indeed, the lack of adequate representation and
26

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                                                      7
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     inadequate class notice6 throughout these proceedings is one of the primary bases for the
 1
     objections sought to be pursued on appeal. Applying the liberal standard for intervention and
 2
     considering the due process rights which the Objectors seek to assert and protect, intervention for
 3
     the purpose of allowing them to pursue an appeal should be granted.
 4
         B. Intervention by Leave of the Court under Rule 24(b) Is also Proper.
 5
            In the alternative, leave pursuant to Rule 24(b)(1) to intervene for the purpose of pursuing
 6
     an appeal should be granted. Under the standards set forth by the Ninth Circuit, the Court may
 7
     grant permissive leave to intervene if there is an independent ground for jurisdiction and the
 8
     intervenor (1) acts timely and (2) shares a common question of law or fact with the claims of the
 9
     case. Fed. R. Civ. P. 24(b); Freedom from Religion Found., Inc. v. Geithner, 644 F.3d 836, 843
10
     (9th Cir. 2011). The Objectors meet these requirements.7
11
            With regard to the timeliness element, permissive intervention is timely for the reasons
12
     set forth above. See Ghirardelli Chocolate, 2013 WL 6776191, at *9 (“In determining whether a
13
     motion for permissive intervention is timely, the court looks to the same factors considered in
14
     determining intervention as or [sic] right.”).
15
            As to the second element, the existence of a common question of law or fact is plainly
16
     present. The claims released by the Amended Settlements, the compliance of those settlements
17
     with the myriad of due process protections prerequisite to their approval and the performance of
18
     IPP Class Counsel which form the basis of the appeal sought to be pursued by the Objectors’
19
     request for intervention present that commonality. They are not only common, but identical to
20
     the issues before the Court when rendering the final approval order and Judgment.
21

22

23   6
       For example, the notice’s age demographics of CRT purchasers failed to adjust for the passage
     of time. Rather than sending the notice to class members who purchased the TV’s, it was sent to
24   their children who had grown into that age demographic while the case was litigated.
     7
25     A basis for jurisdiction is not at issue here because the Objectors seek to appeal based upon
     their status as members of the settlement class and with regard to claims encompassed within this
26   MDL litigation.

27
                                                      8
28       REQUEST FOR EXPEDITED RELIEF AND MOTIONS TO EXTEND TIME TO APPEAL JUDGMENT
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            As a final factor weighing in favor of opening the gates to appellate review, the Objectors
 1
     respectfully note the particularly important duty of the Court to absent class members in the
 2
     settlement class setting and as an MDL transferee forum disposing of their claims. See In re
 3
     Medtronic, Inc. Implantable Defibrillator Prod. Liab. Litig., 434 F. Supp. 2d 729, 730 (D. Minn.
 4
     2006) (“[T]his case is a complex matter, having been lodged before the undersigned by the
 5
     Multi–District Litigation Panel. A transferee judge in such a case bears a particularly heavy
 6
     burden to protect the transferee plaintiffs.”); In re Wireless Telephone Federal Cost Recovery
 7
     Fees Litig., 396 F.3d 922, 932 (8th Cir.2005) (“the district court acts as a fiduciary, serving as a
 8
     guardian of the rights of the ... class members”); Pigford v. Johanns, 416 F.3d 12, 25
 9
     (D.C.Cir.2005) (the court has a duty to protect class members); Stewart v. General Motors, 756
10
     F.2d 1285, 1293 (7th Cir.1985) (same); Manual for Complex Litigation, Fourth § 10.224 (2004).
11
                                               CONCLUSION
12
            For the reasons stated above, the Objectors respectfully request that the Court grant
13

14   expedited resolution of the Motion to Extend and extend the deadline for the filing of a notice of

15   appeal until after the resolution of their Motion to Intervene, and further request that their Motion
16   to Intervene be expedited and granted as well as any further relief as the Court deem just and
17
     appropriate.
18
19   Dated: August 20, 2020                         Respectfully submitted,

20
                                                       /s/ Robert J. Bonsignore
21                                                     Robert J. Bonsignore

22                                                     Robert J. Bonsignore, appearing pro hac vice
                                                       Lisa A. Sleboda, appearing pro hac vice
23                                                     Bonsignore Trial Lawyers, PLLC
                                                       3771 Meadowcrest Drive
24                                                     Las Vegas, NV 89121
                                                       Telephone: (781) 856-7650
25                                                     Facsimile: (702) 852-5626
                                                       Email: rbonsignore@classactions.us
26

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28       REQUEST FOR EXPEDITED RELIEF AND MOTIONS TO EXTEND TIME TO APPEAL JUDGMENT
                           AND TO INTERVENE FOR PURPOSE OF APPEAL
                               Case No. 4:07-cv-5944-JST, MDL No. 1917
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                                     CERTIFICATE OF SERVICE
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            I hereby certify that a true copy of the foregoing was filed via CM/ECF on August 20,
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 5                                                /s/ Robert J. Bonsignore
                                                  Robert J. Bonsignore
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